        Case 2:19-cv-02850-DMG-JC Document 8 Filed 04/15/19 Page 1 of 2 Page ID #:22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

      TEXKHAN, INC., a California Corporation,                        )
   individually and doing business as HYUP SUNG                       )
                        T.R.D.,                                       )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 2:19-cv-02850 DMG (JCx)
EN CREME, an unknown business entity; POSHMARK,                       )
INC., a Delaware Corporation, doing business as                       )
POSHMARK; PROMGIRL, LLC, a New York Limited                           )
Liability Company, doing business as THISGIRL; and
DOES 1 through 50,                                                    )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) EN CREME
                                           747 E. 10th Street, Suite 112
                                           Los Angeles, CA 90021


                                           [CON'T SEE ATTACHED PAGE 2]


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hyunsuk Albert Chang, Esq.
                                           Grace Hyojung Jang, Esq.
                                           Law Offices of Albert Chang
                                           1225 W. 190th Street, Suite 420
                                           Gardena, CA 90248


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF
                                                                                       F COURT
                                                                                            RT
                                                                                            RT


Date:             04/15/2019
                                                                                          SSignature
                                                                                           Si gnature of C
                                                                                                         Clerk
                                                                                                           lleerk or Deputy Clerk
         Case 2:19-cv-02850-DMG-JC Document 8 Filed 04/15/19 Page 2 of 2 Page ID #:23

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 Civil Action No. 2:19-cv-02850 DMG (JCx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
